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                            MOISES HERNANDEZ
                             REG. NO. 41269-050
                              FCI RAY BROOK
                        FEDERAL CORR. INSTITUTION
                                P.O. BOX900
                           RAYBROOK,NY 12977
                               August~ 2020

Mr. William T. Walsh
Clerk of Court                                             ?
U.S. District Court                                       .{
                                                      f
District ofNew Jersey
                                                      /
Mitchell H. Cohen Building & U.S. Courthouse
4th and Cooper Streets, Room 1050
Camden, NJ 08101

      RE:   Hernandez v. United States
            Crim No. 1:06-cr-00736-RBK-5

Dear Mr. Walsh:

      Enclosed please find and accept for filing Movant's Motion for Imposition of
a Reduced Sentence Pursuant to Section 404 of the First Step Act. Please submit this
document to the Court.

      Thank you for your assistance in this matter.

                                             Sincerely,




                                             Appearing Pro Se

Encl. as noted
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'   '
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                              UNITED STATES DISTRICT COURT              RECE~ VE0
                                 DISTRICT OF NEW JERSEY
                                                                             AUG 3 1 2020
        MOISES HERNANDEZ,                                                AT 8:30
                                                                            WILLiAMTwALSHM
                                                                                   CLER/(
                           Movant,

                      V.                              Crim No. 1 :06-cr-00736-RBK-5

        UNITED STATES OF AMERICA,

                           Respondent.

                    MOTION FOR IMPOSITION OF A REDUCED SENTENCE
                    PURSUANT TO SECTION 404 OF THE FIRST STEP ACT

              COMES Movant, MOISES HERNANDEZ ("Hernandez"), appearing pro se,

        and in support of this memorandum would show as follows:

               Section 404 of the First Step Act of 2018, enacted on December 21, 2018,

        independently authorizes a district court to impose a reduced sentence for

        crack-cocaine convictions where the statutory penalty provisions of the Fair

        Sentencing Act would have applied had that Act been in effect at the time of the

        original sentencing. Hernandez moves this Court to reduce his sentence pursuant to

        this Act.

                                        I. BACKGROUND

              A.      Procedural Background

              On May 7, 2008, a grand jury sitting in the United States District Court for the

        District of New Jersey, Camden Division, returned a two (2) count Superseding
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Information charging Hernandez. See Doc. 111. 1 Count 1ss charged Hernandez with

Conspiracy to Distribute and Possess with Intent to Distribute Cocaine .Base

("Crack"), in violation of 21 U.S.C. §§ 846, 841(a)(l) and (b)(l)(C). Id. Count 2ss

charged Hernandez with Use of a Firearm in Furtherance of a Drug Trafficking Crime

that Caused Death, Without Malice, in violation of 18 U.S.C. §§ 924(c)(l)(A)(iii),

( c)(1 )(D)(ii), and 924(j). Id.

       On May 7, 2008, after waiving his right to prosecution by Indictment, a Plea

Hearing was held and Hernandez entered a plea of guilty on Counts 1ss and 2ss of the

Superseding Information, pursuant to a written Plea Agreement. See Doc. 112, 113,

116.

       On November 19, 2008, Hernandez was sentenced to a total term of 330

months' imprisonment, 3 years of Supervised Release, Restitution in the total amount

of $7,390, and a Mandatory Special Assessment Fee of $200. See Docs.124, 125.

       On December 29, 2008, Hernandez timely filed a Notice of Appeal. See Doc.

128.




        "Doc." refers to the Docket Report in the United States District Court for the DistrictofNew
Jersey, Camden Division in Criminal No. 1:06-cr-00736-RBK-5, which is followed by the Docket
Entry Number. "CvDoc." refers to the Docket Report in the United States District Court for the
District of New Jersey, Camden Division in Civil No. 1:2017-cv-04582-RBK, which is followed by
the Docket Entry Number. "PSR" refers to the Presentence Report in this case, which is immediately
followed by the paragraph (",i'') number.

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      On May 6, 2010, the United States Court of Appeals for the Third Circuit

("Third Circuit") issued an Order affirming Hernandez's judgment of conviction and

sentence. See Doc. 144.

      On June 21, 2017, Hernandez filed a Motion under 28 U.S.C. § 2255 to Vacate,

Set Aside or Correct Sentence by a Person in Federal Custody("§ 2255 Motion"),

which was denied on September 27, 2019. See CvDocs. 1, 3, 14, 15.

      B.    Statement of the Relevant Facts

            1.    · Offense Conduct

      Hernandez's charges arise out of an investigation into drug trafficking in

Camden, New Jersey. In late June 2006, law enforcement officers intercepted and

recorded conversations from the mobile telephone of an individual named Cesar

Severino. The substance of the phone calls suggested that Severino had supplied

defendant Moises Hernandez with crack cocaine but that Hernandez had complained

that the crack cocaine supplied was of poor quality, leading Severino to promise to

replace the drugs with higher quality material. On July 8, 2006, Severino was shot

and killed. Hernandez was identified as the perpetrator by Edwin Saldivar, who was

present when Severino was shot and who was also injured during the episode. Two

eyewitnesses standing across the street at the time of the shooting also identified

Hernandez. Hernandez was arrested on July 13, 2006. Subsequent to his arrest,

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Hernandez waived his rights under Miranda and confessed to Drug Enforcement and

Administration agents that he killed Severino in the heat of passion after Severino

slapped him. Hernandez also confessed to the New Jersey Prosecutor's Office and

Camden Police Department in a separate interview.

             2.     Plea Proceeding

      On May 7, 2008, after waiving his right to prosecution by Indictment [Doc.

116], a Plea Hearing was held and Hernandez entered a plea of guilty on Counts 1ss

and 2ss of the Superseding Information [Doc. 112], pursuant to a written Plea

Agreement. See Doc. 113. In exchange for Hernandez's guilty plea, the government

agreed to the following: (1) will not initiate any further criminal charges against

Hernandez for the shooting death of Cesar Severino and the shooting of Edwin

Saldivar; and (2) dismiss the Superseding Indictment pending against Hernandez. Id.

at 1. More so, pursuant to the Plea Agreement, the parties agree to recommend that

the Court impose a prison sentence of240 months (that is 120 months on Count lss

and a consecutive 120 months on Count 2ss), and further agree that a prison sentence

of 240 months is reasonable and appropriate. Id. at 7. It is also important to note that

the Plea Agreement states that Hernandez has demonstrated a recognition and

affirmative acceptance of personal responsibility for the offense charge. Therefore a

downward adjustment of 2 levels for acceptance of responsibility is appropriate,


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pursuant to USSG 3El.l(a); and that Hernandez assisted the investigation or

prosecution of his own misconduct by timely notifying authorities of his intention to

enter a plea of guilty, hence, he is entitled to an additional I-point reduction, pursuant

to USSG § 3El. l(b). Id. The case was referred to the Probation Office for the

preparation of the PSR.

             3.    · Presentence Report Calculations and Recommendations

      On September 23, 2008, the Probation Office prepared Hernandez's PSR,

which was revised on October 30, 2008. On Count lss, the PSR determined that the

Base Offense Level was 28 (based on a drug weight of at least 35 grams but less than

50 grams of cocaine base,pursuantto USSG § 2Dl.l(c)(6).SeePSR1100. However,

Hernandez was deemed to be a career offender within the meaning ofUSSG § 4Bl.1

Therefore, his offense level was increased to level 32. See PSR 1109. Hernandez's

total criminal history points of 11, placing him in Criminal History Category V. See

PSR 1 142. But Hernandez's career offender status automatically establishes a

Criminal History Category of VI, pursuant to USSG § 4Bl.1. Based upon a Total

Offense Level of 32 and a Criminal History Category of VI, the guideline

imprisonment range was 210 to 262 months. However, due to the statutory provisions

of 18 U.S.C. § 841(b)(l)(C), the guideline range for imprisonment was 210 to 240

months. Count 2ss requires a mandatory consecutive sentence of 120 months. Hence,

the guideline range became 330 to 360 months. See PSR 1175.

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        Note: The Probation Office concurred with the Plea Agreement with the

exception of the stipulated 3-point reduction in the offense le~el pursuant to the

provisions of USSG § 3El.1. See PSR        ,r   176. This decision was based on the

presentence interview held on June 10, 2008- Hernandez respectfully declined to

make a statement with regard to acceptance of responsibility. See PSR            ,r   95.

Hernandez received no reduction for acceptance of responsibility even though the

government made it clear that he admitted his guilt in the instant offense and assisted

authorities in the investigation and prosecution of his own misconduct. See Doc. 113

at 7.

             4.     Sentencing Proceeding

        On November 19, 2008, a Sentencing Hearing was held before Judge Robert

B. Kugler. See Doc. 124. At sentencing, the government argued that Hernandez

should receive a sentence within the guidelines-namely a sentence between 330 to

350 months-instead of the 240 months stipulated in the Plea Agreement. The Court

calculated his Guideline Offense Level at 32 and Criminal History Category VI.

Hernandez was sentenced to a 210 month period of incarceration on Count 1ss and

120 months on Count 2ss, to be served consecutively, for a total of 330 months. A

timely Notice of Appeal was filed on December 29, 2008. See Doc. 128.




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             5.     Appellate Proceeding

      On Appeal, Hernandez argues on appeal that: (1) the District Court erred by

denying his motion to withdraw his guilty plea prior to sentencing; (2) the

government breached its plea agreement with him; (3) the government coerced him

into accepting a plea bargain and misled him; and (4) the district court erred by

failing to award him a three-point reduction for acceptance of responsibility. He seeks

to withdraw his guilty plea. See United States v. Hernandez, 378 F. App'x 145 (3d

Cir. 2010). On May 6, 2010, the Third Circuit denied Hernandez's appeal, affirming

both his conviction and sentence. See id. at *7. The United States Supreme Court

denied his writ of certiorari. See Hernandez v. United States, 562 U.S. 398 (2010).

             6.     Postconviction Proceeding

      On June 21, 2017, Hernandez filed a § 225 5 Motion, arguing that pursuant to

Johnson v. United States, 135 S. Ct. 2551 (2015), his conviction under 18 U.S.C. §

924(c) should be invalidated as unconstitutionally vague. See CvDoc. 9, at 4.

Respondent filed an answer opposing the petition. See CvDoc. 12. On September 27,

2019, the District Court denied Hernandez's § 2255 Motion and a certificate of

appealability was not issued. See CvDocs. 14, 15.




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                                 II. DISCUSSION

      As a preliminary matter, Hernandez respectfully requests that this Court be

mindful that pro se complaints are to be held "to less stringent standards than formal

pleadings drafted by lawyers," and should therefore be liberally construed. See Higgs

v. Attorney Gen. of The United States, 655 F.3d 333 (3 rd Cir. 2011); Estelle v.

Gamble, 429 U.S. 97 (1976)(same); and Haines v. Kerner, 404 U.S. 519

(1972)(same).

      A.     The U.S. Sentencing Commission Advises Against Strict
             Application of the Career Offender Guideline to Non-Violent
             Offenders Like Hernandez.

      In this case, Hernandez was classified as a career.offender because he was at

least 18 years old at the time he committed the instant offense of conviction; and has

at least two prior felony convictions of a "controlled substance" offense, to wit:

      1)     May 18, 2000: Possession of a Controlled Dangerous Substance,
             to Wit: Crack Cocaine, with Intent to Distribute within 1000 Feet
             of a School Zone, in the Superior Court of New Jersey, Camden
             County, Docket No. 00-07-02231-A; and

      2)     August 17, 2005: Possession of a Controlled Dangerous
             Substance, to Wit: Crack Cocaine, with Intent to Distribute within
             1000 Feet of a School Zone, in the Superior Court of New Jersey,
             Camden County, Docket No. 05-12-04731-I.

      The U.S. Sentencing Commission advises against strict application of
      the Career Offender Guideline to non-violent offenders like H emandez.



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       Recent data-based guidance from the U.S. Sentencing Commission advises

against the strict application of the Career Offender Guideline to Hernandez, because

his classification is based solely on prior drug offenses. This guidance weighs in

favor of a reduced sentence toward Hernandez's non-career offender Guideline range,

which would be 130 to 162 months, restricted to 120 months on Count 2ss due to the

statutory minimum.2

       In a 2016 report to Congress, the U.S. Sentencing Commission advised that

"[ d]rug trafficking only career offenders ... should not categorically be subject to the

significant increases in penalties required by the career offender directive" because

they "are not meaningfully different from other federal drug trafficking offenders[. ]"3

The report described the results of a multi-year study in which the Commission

explored concerns that "the career offender directive fails to meaningfully distinguish

among career offenders with different types of criminal records and has resulted in



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       Hernandez was held accountable for a total of at least 35 grams but less than 50 grams of
cocaine base, resulting in a non-career offender base offense level of 28. See USSG § 2D1. l(c)(6).
Combined with his Criminal History Category of V, the resulting Guidelines range under the
Sentencing Table is 130 to 162 months, restricted to 120 months for Count 2 due to the statutory
minimum.

       3

      · See U.S. Sentencing Comm'n, Report to the Congress: Career Offender Sentencing
Enhancements, at3 (Aug. 2016), https://www.ussc.gov/sites/default/files/pdf/news/ congressional-
testimony-and-reports/criminal-history/201607 RtC-Career-Offenders.pdf ("USSC COG Report").

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overly severe penalties for some offenders.''4 Specifically, the Commission analyzed

criminal history and recidivism data for career offenders, separating the results based

on whether the person's prior convictions were drug trafficking offenses, crimes of

violence, or both. The data revealed "clear and notable differences between career

offenders who have committed a violent offense and those who are deemed career

offenders based solely on drug trafficking offenses. " 5 For example, "drug trafficking

only career offenders" proved to have lower recidivism rates than other career

offenders, with rates that actually were "relatively similar" to those of non-career

offenders. The Commission's study led it to conclude that "the career offender

directive is best focused on those offenders who have committed at least one 'crime

of violence. '"6 The Commission also recommended "that Congress amend the

directive to reflect this principle by no longer including those who currently qualify

as career offenders based solely on drug trafficking offenses. " 7 According to the

Commission, "[t]hesereforms would help ensure that federal sentences better account

for the severity of the offenders' prior records, protect the public, and avoid undue



      4
          Id at 2.
      5
          Id. at 8.
      6
          Id. at 40-41.
      7
          Id. at 3.

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severity for certain less culpable offenders."8

       The Commission also noted the disproportionate way in which the Career

Offender Guideline affects people convicted of federal drug trafficking offenses, due

to the "higher statutory maximum penalties for those offenders. " 9

       Hernandez's case is a clear example of that disproportionate impact. Indeed,

his prior drug convictions (1) qualify him for an enhanced sentence under the Career

Offender Guideline, and (2) enhance his career offender offense level from 28 to 32

due to his enhanced statutory maximum.

       The Sentencing Commission is not alone in recognizing the ways in which the

Career Offender Guideline is overly punitive toward drug offenders. The Commission

determined through its study that"[ d]rug trafficking only career offenders were most

likely to receive a sentence below the guideline range[.]" The average sentence for

such offenders was 134 months, which is "nearly identical to the average guideline



       8
           Id (emphasis added).
       9

        Id Although Congress has not implemented such a reform yet, the Commission identified
the continuation of those efforts as a priority in its most recent amendment cycle. See Federal
Register Notice (83 FR 30477): Proposed Priorities for Amendment Cycle, Request for Comment,
U.S. Sentencing Commission, pp. 2-3 (Aug. 28, 2019), https ://www.ussc.gov/sites/default/files/pdf/
amendment-process/federal-register-notices/20180628 fr proposed priorities.pdf ("Continuation
ofits work with Congress and others to implement the recommendations of the Commission's 2016
report to Congress, Career Offender Sentencing Enhancements, including its recommendations to
revise the career offender directive at 28 U.S.C. § 994(h) to focus on offenders who have committed
at least one 'crime of violence"').

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minimum (131 months) that would have applied to those offenders through the

normal operation of the guidelines." 10 Moreover, over the last few years, district

courts around the country have been acknowledging this issue-and the

Commission's data-and applying downward variances under circumstances similar

to Hernandez's case, in an effort to avoid the "unwarranted sentencing uniformity"

that the Guideline currently creates. 11 In fact, in other First Step Act proceedings in

this district, district court judges relied in part on this Sentencing Commission data

in finding that a downward variance from the Career Offender Guideline range was

appropriate. 12

        As the Supreme Court has recognized, district courts "may freely depart from

the range recommended by the Guidelines based not only on an individualized

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             Id. at 3.
        11

        See UnitedStatesv. Dixon,No. 2:16-cr-16-MHT, 2016WL4492843, at *3 (M.D. Ala. Aug.
5, 2016); see also, e.g., United States v. Newhouse, 919 F. Supp. 2d 955, 967-68, 992 (N.D. Iowa
2013) ("join[ing] the growing chorus of federal judges who have rejected applying the Career
Offender guideline in certain cases" and rejecting its application to a "nonviolent, recidivist drug
addict occupying a low-level role in the drug trade") (citing cases); United States v. Valdez, 77 F.
Supp. 3d 1115, 1134 (D.N.M. 2014) (varying downward from the Career Offender Guideline range
by nearly 50% because its applicationdidnotcomplywith § 3553(a), inacasewherethedefendant's
conviction and predicate offenses were drug offenses and he had no violent crime in his criminal
history).
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         See Order and Reasons, United States v. Shannon Hernandez, No. 07-CR-040, ECF No. 71, at 10-13
(E.D. La. Nov. 14, 2019) (Fallon, J.) (reducing sentence for career offender who faced Guidelines range of
262-327 months to time-served after the defendant had served 13 years); and Order for Sentence Reduction,
United States v. Henry Williams, III, No. 05-CR-0224, ECF No. 278 (E.D. La. February 10, 2020)(Feldman,
J.) (reducing sentence for career offender who faced Guidelines range of262-327 months to 188 months).

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determination that the Guidelines yield an excessive sentence in a particular case, but

also based on policy disagreement with the Guidelines themselves."13 Here, a

downward variance toward Hernandez's non-career offender Guidelines-i.e., his

imprisonment guidelines of 130 to 162 months-is warranted for both reasons: first,

because the Sentencing Commission's data-based guidance indicates that the Career

Offender Guideline categorically over-penalizes people like Hernandez, and second,

because the data underlying the Commission's recommendations demonstrate that

application of the career offender enhancement yielded an excessive sentence in his

specific case. The defendant does not have any convictions for "crimes of violence."

Yet he faces the same Guidelines range that applies to people who have been

convicted of violent crimes.

        B.      The First Step Act of 2018

        Section 404 of the First Step Act permits courts to impose reduced sentences

on any prisoner still serving a sentence for a crack-cocaine offense if that sentence

was imposed when the pre-FSA penalty structure still applied. The Act establishes

its remedy in two steps, and it clearly applies to Hernandez at each step.

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        Peugh v. United States, 569 U.S. 530,552 (2013) (Thomas, J., dissenting); see also Pepper, 562 U.S.
at 501 (stating that the Court's post-Booker decisions "make clear that a district court may in appropriate
cases impose a non-Guidelines sentence based on a disagreement with the Commission's views"); Spears
v. United States, 555 U.S. 261, 264 (2009) (holding that district courts "are entitled to reject and vary
categorically from the crack cocaine Guidelines based on a policy disagreement with those Guidelines");
United States v. Merced, 603 F.3d 203, 218 (3d Cir. 2010) ("The government concedes that a sentencing
court may vary downward from the Guidelines range generated by the career offender provision based solely
on a policy disagreement with the scope of that provision.").

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      First, the Act defines what offenses are covered by its remedy:

      Definition of Covered Offense: In this section, the term "covered
      offense" means a violation of a Federal criminal statute, the statutory
      penalties for which were modified by section 2 or 3 of the Fair
      Sentencing Act of2010 (Public Law 111220; 124 Stat. 2372), that was
      committed before August 3, 2010.

See First Step Act, Title IV, Sec. 404(a); see also Fair Sentencing Act. Hernandez's

drug offenses are "covered offenses" because Section 2 of the FSA "modified" the

"statutorypenalties"under § 841(b) for"violation[s]" of21 U.S.C. §§ 841(a) and 846

that involved crack cocaine. Hernandez's offense involved crack cocaine, and

committed the violation before August 3, 2010.

      Second, the Act provides the circumstances under which a district court can

reduce the sentence for defendants who were previously sentenced for a "covered

offense":

      Defendants Previously Sentenced: A court that imposed a sentence for
      a covered offense may, on motion of the defendant, . . . impose a
      reduced sentence as if Sections 2 and 3 of the Fair Sentencing Act of
      2010 (Public Law 11 1-220; 124 Stat. 2372) were in effect at the time
      the covered offense was committed.

Id., Section 404(b). This provision plainly applies to Hernandez because this Court

previously "imposed a sentence" on him ''for a covered offense." Through this

motion, he now moves for a reduced sentence under Section 404(b) of the First Step

Act and in accordance with the FSA's reduced statutory penalties.

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      Third, the Act provides narrow limitations on this sentencing reduction power.

The Act delineates that a court shall not entertain a motion made under Section 404

of the First Step Act to reduce a sentence "if the sentence was previously imposed or

previously reduced in accordance with the amendments made by sections 2 and 3 of

the Fair Sentencing Act of 2010 ," or "if a previous motion made under this section

to reduce the sentence was, after the date of enactment of this Act, denied after a

complete review of the motion on the merits." Id., Sec. 404(b). Neither of these

limitations apply to Hernandez, and he is currently serving a life sentence under the

pre-FSA statutory penalty structure for a crack cocaine offense.

      In summation, proving eligibility under the First Step Act is straightforward.

A defendant is eligible if he was convicted of a crack cocaine offense, was sentenced

when the pre-FSA statutory penalties were still in effect, and continues to serve a

sentence that has not already been reduced to the post-FSA statutory penalties.

Because Hernandez satisfies all of these requirements, the Court has the authority to

impose a reduced sentence for his crack cocaine conviction.




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      C.     Hernandez is Entitled to An Evidentiary Hearing So That
             Hernandez May Further Prove His Meritorious Ground for
             Relief, Resolve Any Disputed Facts, and Expand An
             Incomplete Record.

      Hernandez urges the Court to assess United States v. Stanback, 377 F. Supp.

3d 618 (W.D. Va. 2019). In Stanback, Kelly George Stanback, represented by

counsel, filed a motion to reduce his sentence pursuant to Section 404(b) of the First

Step Act of 2018. ECF No. 1449. He asks the court to reduce his current sentence of

248 months to time served. The government asserts that Stanback is ineligible for

consideration of a reduction in his sentence, and in the alternative, that if he is

eligible for consideration, a further reduction of his sentence is not warranted. The

government suggests that the only relief to which Stanback is entitled is a reduction

in his term of supervised release from 5 years to 4 years. For the reasons set forth

below, the court granted Stanback's request and modified his sentence to time served,

to be followed by a 4-year term of supervised release.

             1.    Drug Weight

      The drug weight is an element of the offense and that any fact that increases a

mandatory minimum penalty is an element that must be charged in an indictment and

proved to a jury beyond a reasonable doubt. Apprendi v. New Jersey, 530 U.S. 466,

120 S.Ct. 2348, 147 L.Ed.2d 435 (2000) and Alleyne v. United States, 570 U.S. 99,



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133 S.Ct. 2151, 186 L.Ed.2d 314 (2013). Under those two cases, if Stanback were

sentenced today, his sentence would be based on distributing 5 grams or more of

cocaine base, and not 4.5 kilograms of cocaine base.

      Note: Hernandez was indicted for conspiracy to distribute and possess with

intent to distribute crack cocaine (no specified amount).

      In Apprendi, the Supreme Court held that the Sixth Amendment to the

Constitution requires that any fact that increases the penalty for a crime beyond the

prescribed statutory maximum, other than the fact of a prior conviction, must be

submitted to a jury and proved beyond a reasonable doubt. In Alleyne, the Court

applied Apprendi to the federal mandatory minimum and maximum sentencing

scheme and held that because mandatory minimum sentences increase the penalty for

a crime, any fact that increases the mandatory minimum is an element of the crime

that must be submitted to the jury. Id. at 116, 133 S.Ct. 2151 (overruling Harris v.

United States, 536 U.S. 545, 122 S.Ct. 2406, 153 L.Ed.2d 524 (2002) ).

      Neither Apprendi nor Alleyne are retroactively applicable on collateral review.

See United States v. Sanders, 247 F.3d 139, 146 (4th Cir. 2001) Qoining other circuits

in finding that Apprendi does not apply retroactively to cases on collateral review);

and United States v. Stewart, 540 Fed.Appx. 171 (4 th Cir. 2013) (per curiam) (noting

that Alleyne has not been made retroactively applicable to cases on collateral review).

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However, for a period of time after Apprendi was decided, including before passage

of the Fair_Sentencing Act in 2010, the jury ordinarily made a finding regarding the

threshold penalty, but the court could and did impose statutory-minimum penalties

regardless of any jury finding. That practice was authorized by Harris, and Alleyne

did not overrule Harris until three years later, and three years after the Fair

Sentencing Act was enacted. Nonetheless, Congress, when drafting the First Step Act

in 2018, surely did not intend for courts to disregard the last six years of Supreme

Court federal sentencing jurisprudence and this court declines to do so.

      Alleyne made clear that in order to preserve a defendant's Sixth Amendment

right to a jury trial, any fact that increases the statutory mandatory minimum sentence

is an element of the crime which must be submitted to the jury. Alleyne, 570 U.S. at

116, 133 S.Ct. 2151. In this case, Hernandez pled guilty to conspiracy to distribute

and possess with intent to distribute (no specified) amount of crack cocaine. Under

Alleyne, this court is not free to ignore that finding and impose a penalty based on at

least 35 grams but less than 50 grams of grams of cocaine referenced in the PSR.

Thus, although Apprendi and Alleyne are not retroactively applicable on collateral

review, this court joins other courts in finding that their holdings are applicable in the

context of the First Step Act. See United States v. Simons, No. 07-CR-00874, 375

F.Supp.3d 379, 487, 2019 WL 1760840 at *6 (E.D.N.Y. Apr. 22, 2019) (citing


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Alleyne and finding that statutory penalties are determined by facts submitted to a

grand jury, trial jury, or established by a guilty plea while findings by a judge may be

used to determine a sentence within the statutory penalties and cannot change "the

mandatory minimum sentence now applicable"); United States v. Dodd, No.

3:03-CR-18-3, 372 F.Supp.3d 795, 2019 WL 1529516 (S.D. Iowa, Apr. 9, 2019)

(finding in a First Step Act case that "[b ]othApprendi and Alleyne are binding on this

Court for sentencings held today."); United States v. Davis, No. 07-CR-245(S)(l),

2019 WL 1054554 (W.D.N.Y. Mar. 6, 2019), appeal docketed, No. 19-874 (2d Cir.·

Apr. 5, 2019) ("[I]t is the statute of conviction, not actual conduct, that controls

eligibility under the First Step Act."); see also United States v. Laguerre, No.

5:02-CR-30098-3, 2019 WL 861417 (W.D. Va. Feb. 22, 2019) (relying without

discussion on charged drug weight rather than PSR weight to find defendant eligible

for relief).

               2.   Discretion of the Court

       The court under 18 U.S.C. § 3582(c)(l)(B) which states that "the court may

modify an imposed term of imprisonment to the extent otherwise expressly permitted

by statute", i.e., the First Step Act of 2018, Section 404, "Application of the Fair

Sentencing Act", and having considered such motion, and taking into account the

policy statement set forth at USSG §1B1.10 and the sentencing factors set forth in 18

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U.S.C. § 3553(a), to the extent that they are applicable, ordered that the motion be

denied. Hernandez is currently serving a 330-month sentence.

      See United States v. Haynes, No. 8:08-CR-441, 2019 WL 1430125 (D. Neb.,

Mar. 29, 2019) appeal docketed, No. 19-1701 (8th Cir. Apr. 4, 2019). There, a

defendant was indicted and pleaded guilty to possession with intent to deliver 5 grams

or more of cocaine base. In the plea agreement, he agreed to be held responsible for

20-35 grams of cocaine base, and the PSR said he was responsible for at least one

ounce (28.35 grams) of cocaine base. Id. at* 1. He sought relief under the First Step

Act based on his plea of guilt to the 5 grams of cocaine base. Id. at *2. The court

denied relief, finding that if the Fair Sentencing Act had been in effect at the time the

defendant was indicted, the government would have charged him under 18 U.S.C. §

841(b)(l)(B)(iii). This approach was rejected by the court in Dodd, 372 F.Supp.3d at

799, 2019 WL 1529516 at *3. There, the court found that such a speculative claim is

insufficient and that many things might have been different at the time the defendant

was indicted and tried. The court was unwilling to engage in "a series of

hypotheticals about what might have happened had aspects of the case been

fundamentally altered." Id. See also United States v. Pierre, 372 F.Supp.3d 17, 2019

WL 1495123 (D.R.I. Apr. 5, 2019) (holding that in determining eligibility under the

First Step Act, court should look to whether the offense of conviction was modified

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by the Fair Sentencing Act of 2010 and should not delve into the particulars of the

record to determine how the defendant committed the offense of conviction or how

the facts would have hypothetically affected the charges brought under the new

statutory scheme).

      The Fourth Circuit Court fmds the reasoning in Dodd and Pierre persuasive.

While it is possible that the government would have proceeded against Stanback

under 18 U.S.C. § 841(b)(l)(A), it also is possible that it would not have chosen to

do so. The government could have determined that evidence was insufficient to prove

the quantity beyond a reasonable doubt, or if it did indict him on that amount, the

parties might have entered into a plea agreement involving less than 280 grams of

cocaine base. The retroactive assumption suggested by the government simply is too

speculative a basis on which to determine Stanback's eligibility for a sentence

reduction. Thus, the Fourth Circuit declines to assume that Stanback would have been

charged and convicted of possessing more than 280 grams of cocaine base if the Fair

Sentencing Act had been in effect at the time he was convicted.

      The only guidance Congress has given regarding the authorized extent of

Section 404 relief is that the district court may impose a reduced sentence "as if' the

FSA's reduced crack cocaine penalties "were in effect at the time the covered offense

was committed." This broad grant of resentencing authority contains one implied

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limitation, that the court cannot impose a sentence lower than the statutory mandatory

minimum applicable under the FSA-the current statutory penalties. For example,

if a defendant was convicted at trial in 2009 where the jury found he distributed "50

grams or more" of crack cocaine, his post-FSA mandatory minimum sentence would

be five years, because that is the post-FSA minimum for an offense involving 28

grams or more but less than280 grams of crack. 21 U.S.C. § 84l(b)(l)(B)(iii). In that

case, the district court, acting pursuant to Section 404, could not reduce the

defendant's sentence below five years.

      D.     18 U.S.C. § 3582(c)(2) and USSG Amendments 750, and 782

      Without the career offender enhancement, Hernandez would be eligible to

receive a reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) and USSG

Amendments 750 and 782 as follows:

             l.    Amendment 750 of the United States Sentencing Guidelines

      On April 28, 2011, the Commission submitted to Congress, Amendment 750,

the permanent guideline amendment implementing the Fair Sentencing Act ("FSA").

The three-part amendment (A, B & C) re-promulgated as permanent the temporary

emergency amendment and took effect on November 1, 2011.

      On June 30, 2011, the Commission voted to promulgate Amendment 759

which added Parts A and C of Amendment 750 as amendments listed in §1B1.10

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(Reduction in Term of Imprisonment as a Result of an Amended Guideline

Range)(Policy Statement) that apply retroactively. Part A contained the changes to

the crack cocaine quantity levels in the Drug Quantity Table in § 2D1.1. Part C

deleted the cross reference in § 2D2.1 to reflect the elimination of the statutory

minimum for simple possession of crack cocaine. The Commission voted to make

Amendment 759 effective November 1, 2011, the same date that Amendment 750

took effect.

               2.   Amendment 782 of the United States Sentencing Guidelines

      In April of 2014, the U.S. Sentencing Commission voted to lower the federal

drug sentencing guidelines by two (2) levels and sent USSG Amendment 782 to

Congress which became effective on November 1, 2014. The Commission

then considered whether to make this relief retroactive to current prisoners who have

already been sentenced. On July 18, 2014, the Commission voted for full retroactivity

ofUSSG Amendment 782.

               3.   Modification ofSentencepursuant to 18 U.S.C. § 3582(c)(2)

      "In making such determination, the court shall substitute only the amendments

listed in subsection (c) for the corresponding guidelines provisions that were applied

when the defendant was sentenced, and shall leave all other guideline application

decisions unaffected." USSG § 1B1.l0(b)(l).

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      After the district court determines what the modified sentence would be, the

district court is required to consider any applicable factors under 18 U.S.C. § 3553

in deciding whether a sentence modification is ''warranted in whole or in part under

the particular circumstances of the case." Dillon, 130 S.Ct. at 2692. "Because

reference to § 3553 is appropriate only at the second step of this circumscribed

inquiry, it cannot serve to transform the proceedings under § 3582(c)(2) into

preliminary re-sentencing proceedings." Id. Thus, even if Hernandez qualifies for

sentence modification under the first step of the analysis, the decision whether to

ultimately grant a modification is left to the sound discretion of the trial court. See

Dillon, 130 S.Ct. at 2692.

      Therefore, Hernandez is eligible to receive a 4-level reduction under

Amendments 750 and 782. Because the PSRindicates that a conservative estimate of

the amount of cocaine base distributed and reasonable foreseeable to Hernandez was

at least 35 grams but less than 50 grams of cocaine base. See PSR ,r 96.

      Applying USSG Amendments 750 and 782 calculations to this case,

Hernandez's Total Offense Level will be reduced to level 24. See also 2016

Sentencing Guidelines, indicating that "At least 28 G but less than 112 G of Cocaine

Base" calls for a Base Offense Level of 24, pursuant USSG § 2Dl.l(c)(8). Based

upon a Total Offense Level of 24 in Criminal History Category of V, the guideline

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imprisonment range is 92 to 115 months. Hernandez respectfully requests that the

Court resentence him to 212 months' imprisonment (92 months on Count 1ss and a

consecutive 120 months on Count 2ss), which is a substantial reduction of sentence.

      He therefore requests this Court order a hearing to impose a reduced sentence

under the FSA's applicable statutory range, i.e. the current statutory penalties.

Hernandez requests this Court order an updated presentence report so that his

sentencing guidelines may be recalculated in accordance with law. At such a hearing,

all the relevant statutory sentencing factors under 18 U.S.C. § 3553(a) will be

addressed in order to achieve a sentence that his sufficient but not greater than

necessary.

      It is essential to also note that since Hernandez's incarceration began, he has

taken numerous steps to attempt to improve himself in "post-conviction

rehabilitation." This effort and its obvious achievements should be welcome news to

this Honorable Court due to the fact that Hernandez has taken continuous strides to

prepare himself for reentry back into society to be a law abiding citizen.

      Based on the above, Hernandez meets all of the qualifications for those eligible

for relief under the First Step Act of 2018. U.S. Sentencing Commission advises

against strict application of the Career Offender Guideline to non-violent offenders

like Hernandez, and retroactive USSG Amendments 750 and 782, and he is not

deemed a Public Safety Factor. Accordingly, this motion should be granted.

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                                    III. CONCLUSION

          For the above and foregoing reasons, Hernandez's sentence must be vacated

    forresentencingpursuantto the First Step Act of 2018, U.S. Sentencing Commission

    advises against strict application of the Career Offender Guideline to non-violent

    offenders like Hernandez, and retroactive USSG Amendments 750 and 782. In the

    alternative, an evidentiary hearing should be held so that Hernandez may further

    prove his meritorious ground for relief, resolve any disputed facts, and expand an

    incomplete record.

                                                      Respectfully submitted,

                     ~
    Dated: August [)U , 2020.
                                                      MOISES HERNANDEZ
                                                      REG. NO. 41269-050
                                                      FCI RAY BROOK
                                                      FEDERAL CORR. INSTITUTION
                                                      P.O. BOX900
                                                      RAY BROOK, NY 12977

                                CERTIFICATE OF SERVICE

          I hereby certify that on August~~ 2020, I mailed a true and correct copy of
    the above and foregoing Motion for Imposition of a Reduced Sentence Pursuant to
    Section 404 of the First Step Act via U.S. Mail, postage prepaid, to Jason M.
    Richardson, Assistant U.S. Attorney at U.S. Attorney's Office, 401 Market Street,
    P.O. Box 1427, Camden, NJ 08101.




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